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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________x

MARY DOE,                                                   Case No. 19 Civ. 10758

                      Plaintiff,
                                                            COMPLAINT
               -against-                                    AND JURY DEMAND

DARREN K. INDYKE and RICHARD D. KAHN,
as EXECUTORS OF THE ESTATE OF JEFFREY E.
EPSTEIN, and SARAH VICKERS,

                  Defendants.
___________________________________________x

               Plaintiff Mary Doe1, by and through her attorneys, Cuti Hecker Wang LLP and

Allred, Maroko & Goldberg, for her Complaint alleges as follows:

                                   NATURE OF THE ACTION

               1.     Beginning when Plaintiff Mary Doe was sixteen years old, Jeffrey Epstein

preyed upon her, manipulated her to be completely dependent on him, and repeatedly sexually

assaulted her. As a result, she attempted suicide multiple times. His degradation of her was total

for years.

               2.     As a young child, Mary had fled a war-torn region with her parents and

come to the United States as a refugee. When she met Epstein in 2004, Mary was sixteen years

old, living in New York and working non-stop in pursuit of a promising career as a model. She

had success: she had numerous spreads in major fashion magazines and appeared in various

high-fashion ad campaigns.

               3.     Mary met Epstein through another model. He made clear to Mary how



1
 Plaintiff is using the pseudonym “Mary Doe” in this Complaint in place of her real name.
“Mary” is not her real first name. Plaintiff intends to file a motion to proceed under a
pseudonym on the basis of her privacy because her allegations concern childhood sexual abuse.
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important and powerful he was. He indicated to her that he could help her with connections in

the modeling world and could even help her get admitted to Harvard if she got the necessary

grades.

               4.      Mary felt very fortunate to have met Epstein. She was amazed that such a

powerful man wanted to help her, and believed that she could trust him. Because they had hours

of conversation about her and her desire for an education, she understood that he could change

her life and help her achieve her parents’ dream of going to a top school.

               5.      Epstein used this power over Mary to sexually abuse her, viciously and

repeatedly. Epstein, often through Defendant Sarah Vickers née Kellen (“Kellen”), would

summon Mary to his Manhattan townhouse, order her to give him massages, and then subject her

to sexual acts, the severity of which increased over time.

               6.      In Mary’s first visit to the townhouse, it was only a massage. The second

time, Epstein ordered her to take her top off and sit on top of him while she massaged him. The

third time, Epstein forcefully pressed an electric massage device against Mary’s genitals.

               7.      In subsequent encounters, Epstein ordered Mary to masturbate him. He

forcefully penetrated her with his fingers. He forced her to perform oral sex on him numerous

times, holding her head down on his penis even as she gagged and tried to escape. He ejaculated

in her mouth and on her body. Epstein repeated this violent sexual abuse dozens of times. After

each “massage,” Epstein gave Mary a few hundred-dollar bills.

               8.      Epstein manipulated and threatened Mary to ensure that she understood

his total power over her life, with both offers to help and threats not to contradict him. She was

16. Mary understood that she had no choice but to follow his commands.

               9.      In approximately late 2004, when Mary was sixteen years old, Epstein

took her virginity. Epstein first ordered her to strip down and shower, washed her compulsively,



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and threatened that if she was not a virgin he would have her killed. Epstein then forcibly

penetrated her and took her virginity, pushing her face onto the bed to silence her protests.

               10.     Kellen played an integral role in facilitating Epstein’s sexual abuse of

Mary. Kellen arranged for Mary to come to the townhouse and frequently saw Mary going into

the massage room with Epstein. Epstein openly commented to Kellen about Mary performing

sexual acts for him, and Kellen once witnessed Epstein forcing Mary to perform oral sex on him.

               11.     In late 2005, after being sexually abused by Epstein yet again, she heard

Epstein shout to Kellen that Mary was “the best cocksucker.” Mary was mortified and ashamed,

and in that moment suddenly saw the truth: she was not even a human being to Epstein, she was

an object. As she left the townhouse feeling physically ill, Mary saw another girl around her age

entering his townhouse. The penny dropped: Mary suddenly felt like Epstein’s prostitute, as one

of many girls he treated as sexual objects.

               12.     Mary’s realization caused a breakdown. She nearly immediately left New

York City, returned to her parents’ home across the country and never saw Epstein again.

               13.     Epstein’s abuse devastated Mary. She abruptly quit the modeling world in

which she had been a budding star. She felt humiliated, angry, and suicidal. She cried

inconsolably and had debilitating panic attacks. She developed severe depression and anxiety.

She isolated herself and had to rebuild from a dark place.

               14.     Mary continues to feel the dramatic psychological scars from Epstein’s

abuse every day.

               15.     When Epstein was arrested in July 2019, Mary was briefly hopeful that he

might finally face consequences. But his death left Mary with the desolate sense that he has

evaded justice yet again.

               16.     Mary brings this action seeking, at last, some measure of justice for the



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egregious abuse that Epstein inflicted on her when she was a child, which irreparably scarred her

for life.

                                            PARTIES

                17.    Plaintiff Mary Doe is an individual who resides in the western United

States.

                18.    Defendants Darren K. Indyke and Richard D. Kahn are the Executors of

the Estate of Jeffrey E. Epstein (the “Estate”). As Executors of the Estate, Defendants Indyke

and Kahn are liable for the acts and omissions of Epstein and his agents. For purposes of 28

U.S.C. § 1332, Defendants Indyke and Kahn are deemed to be citizens of the United States

Virgin Islands, where Epstein was domiciled at the time of his death.

                19.    Defendant Sarah Vickers née Kellen is an individual who at all relevant

times resided in New York, New York. Kellen was Epstein’s assistant and scheduler who, upon

information and belief, played an integral role in operating Epstein’s operation of sex trafficking

Mary and other underage girls. Upon information and belief, Kellen is a resident of North

Carolina.

                                JURISDICTION AND VENUE

                20.    This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332

because this case is between citizens of different states and the amount in controversy exceeds

$75,000.

                21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred in this

District.




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               22.     This Court has personal jurisdiction over Defendants. As Executors of the

Estate, Defendants Indyke and Kahn are subject to personal jurisdiction in this Court because

Epstein was subject to personal jurisdiction at the time of his death.

               23.     This Court had personal jurisdiction over Epstein at the time of his death

because the tortious acts giving rise to Plaintiff’s claims took place in New York State.

               24.     This Court has personal jurisdiction over Kellen because the tortious acts

and omissions giving rise to Plaintiff’s claims took place in New York State.

                                        JURY DEMAND

               25.     Plaintiff hereby demands a trial by jury on all of her claims in this action.

                                  FACTUAL ALLEGATIONS

               26.     Mary was born in 1988 outside of the United States in a small town. Her

grandfather was a prominent doctor and her parents were well-educated.

               27.     When Mary was just four years old, however, the region she lived in

descended into civil war. Two years later, her entire town was bombed, shelled, and eventually

evacuated. She and her family fled on foot, travelling through war zones in a stream of refugees.

               28.     Her family had no money and lived together in one room, sharing a

bathroom with other families. Their only clothing was what was provided to them by the Red

Cross. Because of the war-torn economy, Mary’s parents were only able to find low-paying,

unskilled jobs to survive.

               29.     Eventually, when Mary was nine years old, her family came to the United

States as refugees.

               30.     Mary’s family settled in Missouri. Her parents resorted to working in the

kitchen of a McDonald’s. They immersed themselves in the American Dream, working hard and

becoming proud first-generation Americans.



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               31.     When Mary was thirteen, she learned of a talent search for models and

persuaded her mother to bring her to the event.

               32.     Mary quickly found success as a model. Her parents were devoutly

Christian, and were displeased by Mary doing that type of work, and unprepared to deal with a

daughter thrust in a spotlight. It seemed unbelievable to them that their daughter could earn

thousands of dollars just by having her pictures taken. But they permitted her to keep doing so,

largely because school counselors and family priests advised them to let Mary pursue this dream,

so long as she kept up with her studies while travelling.

               33.     By age fifteen, Mary began traveling to New York City for modeling,

while still attending school in Missouri. Because of her immediate success, she moved there the

following year, at age sixteen, living in an apartment for models in Manhattan with one or two

roommates but no adult on the premises.

               34.     In New York, Mary had a hectic schedule of modeling work, frequently

working eleven-hour days that involved ten or twelve casting events. She was represented by a

prominent agency and worked with top-tier clients. She was featured in prominent magazines

and heralded as a rising star in modeling world.

               35.     At casting events, Mary was often the youngest person, surrounded by

older models. She felt empowered, feeling that she was a “big girl” and that she was smarter

than the older models and able to do what they did despite her young age.

               36.     At the same time, Mary’s parents distanced themselves from her, as they

did not approve of the modeling profession. Her father made it known to her that he did not

approve of her doing that type of work.

               37.     In this context, Mary met Jeffrey Epstein for the first time in

approximately the summer of 2004, when she was sixteen years old.



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               38.    At one of the casting events, a model who was several years older than

Mary mentioned Epstein to Mary. The woman said that Epstein had connections to Victoria’s

Secret, and told Mary that he would be the most interesting person she would ever meet.

               39.    Mary made an appointment to meet Epstein at his townhouse at 9 East

71st Street in Manhattan.

               40.    Mary did not view it as strange or concerning to go to Epstein’s home.

During that time period, it was common for her and other models to run around the city, ringing

the doorbells of artists and photographers to meet with them at their studios and homes. Casting

calls and waiting around in townhouses were a normal part of work. In those interactions, she

had found nearly all of the people she met to be nice, and found that they were not predators and

understood that she was a child.

               41.     When Mary rang the doorbell of Epstein’s townhouse, a maid answered

the door, but Epstein was standing right behind her, giving the impression that he was expecting

Mary. Epstein seemed larger than life to Mary.

               42.    Mary was impressed by the grandeur of Epstein’s townhouse, the ornate

furnishings, and the numerous photographs of famous people.

               43.    Epstein quickly touted his connections to important people. He pointed

out to Mary a photo of Bill Clinton, the president who had made it possible for Mary and her

family to come to the United States as refugees. Epstein told her that he and President Clinton

were “best friends.” When Mary explained her family’s story, Epstein told her that he would

personally thank “Bill” on her and her family’s behalf.

               44.    Epstein told her about himself, including about his healthy lifestyle and

that he did not drink or do drugs. This put her at ease, and caused her to think, “I’m in good

hands.”



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               45.    Epstein asked Mary whether she had a boyfriend. Mary explained that she

had never dated anyone, that her family was very religious, and that she was saving herself for

marriage.

               46.    After they conversed, Epstein told Mary that he had a knot in his back that

his masseuse had not gotten out, and asked if she would help him with it. Mary took this to be

an innocent request. She had given massages to her mother and father, so Epstein’s request did

not seem strange.

               47.    Epstein led Mary to the massage room in his townhouse. He gave her a

large massage device to use on his back, and she did so. Afterwards, Epstein told her she was an

excellent masseuse. He pulled two or three hundred-dollar bills out of his wallet and gave them

to Mary, saying, in substance, “I was going to give it to my masseuse anyway, so you take it and

pay for your car service or something.”

               48.    Afterwards, Mary felt very fortunate to have made the connection with

Epstein. She found him very impressive, and the smartest person she had ever met. She could

not fathom the wealth and luxury that he had, and felt that she wanted to be like him. She

assumed she would never see Epstein again, and would move on with her life.

               49.    To Mary’s surprise, Epstein called soon afterward. He told her that he had

enjoyed talking to her, that he was impressed at how smart she was for a sixteen-year-old, and

that her life story was touching. Epstein asked if Mary would like to see him again.

               50.    Mary found it unbelievable that Epstein, such a smart and powerful man,

was impressed by her. She was thrilled at the successful track her life appeared to be taking.

She believed that if she stuck by Epstein she would be in good hands.

               51.    When Mary went to Epstein’s townhouse a second time, Epstein discussed

his connections with Victoria’s Secret, and said he would put in a good word for Mary.



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               52.    When Mary conversed with Epstein, she felt like she was in the presence

of someone who was powerful and perfect. She saw that he had the ability to reach down from

his powerful position and influence the people directly involved with Mary’s daily life and her

future prosperity.

               53.    Epstein made a point of calling massive celebrities – such as an Oscar-

winning actress and a world-famous supermodel – on a speakerphone in Mary’s presence to

show her the tremendous influence he had. Those two famous women did pick up the phone

and talk to Epstein when he called them. They plainly also thought he was impressive and

important.

               54.    Mary told Epstein about her parents being upset that she was pursuing

modeling, and explained that it was their dream for Mary to attend a prestigious college. Epstein

told Mary that he was on the board of directors of Harvard University. He promised her that, if

she did well on her SATs, he would write her a letter of recommendation for Harvard, which he

said would carry significant weight in the admissions decision.

               55.    Mary strongly desired for her parents to be proud of her. Accordingly,

Epstein’s assurance that he could help her get into Harvard was deeply meaningful to her.

               56.    Epstein brought Mary back to the massage room. He asked her to get on

top of him and to take her shirt off. Epstein instructed Mary to massage him, which she did. She

had never done anything like this, but also felt that this older man who had spent so much time

with her and promised her access to everything she wanted was someone she could not

disappoint.

               57.    Afterwards, Epstein again gave Mary $200 in cash, and she left.

               58.    The third time Mary went to Epstein’s townhouse, Epstein brought her to

the massage room and pressed the massage device against her genitals. Mary had lived a chaste



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life and Epstein’s conduct made her feel ashamed and embarrassed. Mary vividly remembers

looking up at the domed ceiling of the massage room, painted with clouds, and feeling

claustrophobic.

               59.     Epstein aggressively ordered Mary to masturbate him. In a forceful

manner, he barked commands at Mary to stroke his penis and to play with his nipples.

               60.    Afterwards, Epstein gave her $300 and left.

               61.    Epstein’s pattern of abuse continued. Epstein would tell Mary to come to

his townhouse, order her to strip down and massage him, and sexually abuse her. At the end of

each massage, Epstein would ejaculate while Mary touched him. Epstein would then tell her

what a good girl she was, that he loved her, and that he would call her later. Each time, Epstein

would give her two or three hundred-dollar bills.

               62.    Epstein acted as if he were Mary’s sexual teacher, guiding her sexual

awakening. Mary experienced sexual feelings for the first time, but they were intertwined with

immense shame and deep-seated fear.

               63.    Epstein escalated his sexual abuse over time. During one of Mary’s visits

to his townhouse, in approximately mid-2004, Epstein forced his penis into her mouth and forced

her to perform oral sex on him in a very aggressive manner. Mary choked and gagged, not

knowing what to do, but when she tried to move her head away from Epstein’s penis, he forced it

back into place.

               64.    Afterwards, Epstein told her how amazing she was, and gave her $200 or

$300.

               65.    As time went on, and Mary’s relationship with her parents remained

distant due to their objection to her career choice, Epstein became the only adult presence in her

life. Epstein began calling Mary constantly, whether she was in New York or traveling. He told



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her that he loved her. Mary continued to have an arduous schedule of modeling events, and, as a

child, she perceived Epstein’s daily check-up calls as giving her emotional support that she did

not otherwise have.

               66.    Epstein told Mary about the island he owned in the Virgin Islands, and

made repeated attempts to fly her to the Virgin Islands to meet people he assured her were very

influential and would help with her future. Epstein told Mary that she should be willing to give

other people massages as well.

               67.    Epstein invited Mary to stay in his home in Paris, and arranged for her to

attend a concert accompanied by a world-famous supermodel.

               68.    Epstein had manipulated Mary into believing that Epstein’s thoughts were

focused on her career and her future.

               69.    At the same time, Epstein made sure Mary understood his power over her.

If she was ever late to meet him, he would tell her that nobody messes with his time, and that she

could lose everything. When Mary told Epstein she needed to leave for modeling commitments,

he often demanded that she stay, telling her things like, “I could buy your agency today, you can

miss that appointment.”

               70.    Epstein continued to train Mary to be submissive to him and to submit to

his orders.

               71.    Any time Mary failed to do exactly what Epstein commanded of her,

Epstein threatened her and verbally berated her. On one occasion, when Mary failed to show up

precisely when Epstein had asked her to, he reacted with anger, telling her, in substance, “How

dare you? I could make you disappear. I could destroy you. I own this city.”

               72.    Mary believed that was true, that Epstein could make her disappear. She

felt he had total control to help her dreams come true, or to make her disappear.



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               73.    Epstein’s threats terrified Mary. She made sure to stay in line and not to

disobey him.

               74.    When Mary talked back, Epstein would belittle her and scrutinize her

appearance. At one point, Epstein critiqued Mary’s body, telling her that her legs were “too

big.” Epstein went so far as to send Mary to a plastic surgeon, who declined to perform any

procedures on her.

               75.    On one occasion, Epstein had Mary sit on his lap, and yelled at her,

saying, in substance, “We need to teach you how to please a man.”

               76.    Epstein groped Mary and penetrated her vagina with his fingers.

               77.    Epstein forced Mary to perform oral sex on him on a number of other

occasions. Epstein got very aggressive as he did so, holding Mary’s head down on his penis and

giving her constant orders for how to please him.

               78.    Mary saw Epstein numerous times from the summer of 2004 until the end

of 2005. These meetings were often arranged by calls from Epstein himself.

               79.    On numerous other occasions, Defendant Sarah Vickers née Kellen called

Mary and scheduled appointments between Mary and Epstein.

               80.    Mary first met Kellen in approximately early 2005, when Mary was

approximately sixteen years old.

               81.    Upon information and belief, Kellen knew that Epstein engaged in

numerous sexual acts with Mary when Mary was a minor.

               82.    When Kellen called Mary to arrange meetings between Mary and Epstein,

Kellen referred to them as “massage” appointments. Upon information and belief, Kellen knew

that Epstein would engage in sexual acts with Mary, a minor, at some or all of these “massage”

appointments at the time Kellen arranged those meetings.



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               83.     While Mary was travelling, Kellen wired money to her in order to

facilitate further encounters between Mary and Epstein.

               84.     Upon information and belief, Kellen was an integral part of Epstein’s child

sex trafficking operation.

               85.     Upon information and belief, Kellen engaged in a long pattern of actions

aimed at recruiting underage girls for Epstein to use for sexual purposes, and to facilitate sexual

encounters between underage girls and Epstein.

               86.     Upon information and belief, Kellen kept a Rolodex that included

numerous underage girls for Epstein to use for sexual purposes.

               87.     Upon information and belief, Kellen warned numerous underage girls who

had been sexually abused by Epstein not to talk to the police, causing them to feel intimidated

and frightened.

               88.     Kellen was often present in the townhouse when Mary came there. Mary

frequently observed Kellen at Epstein’s side, and Kellen often observed Mary going in and out of

the massage room.

               89.     On one occasion, Epstein violently forced Mary to perform oral sex on

him in a hallway in the townhouse. Kellen walked into the area and witnessed the sexual act,

then quickly walked away. Minutes later, Mary heard Epstein gleefully comment to Kellen, in

crude terms, that Mary was the best at performing oral sex. Mary was incredibly embarrassed

and thought, “That’s not me. I don’t want to be presented this way.”

               90.     On another occasion, in Mary’s presence, Epstein instructed Kellen to

arrange for new underwear to be purchased for Mary from Victoria’s Secret. Just minutes later,

the new underwear arrived, and Kellen handed it to Epstein. Immediately after Kellen left,




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Epstein ordered Mary to strip down and try the underwear on, and she obeyed. Epstein then took

photographs of Mary in the underwear.

               91.      One day in approximately late 2004, when Mary was sixteen years old,

Epstein raped her. Mary went to Epstein’s townhouse that day, and Epstein was angry with her.

He ordered her to strip down and shower, telling her that she did not smell good. Epstein washed

Mary’s entire body compulsively, and then angrily told her, in substance, “If you are lying to me

about being a virgin, I will have you killed.” Mary believed that threat to be true.

               92.      After Mary showered, Epstein forcibly penetrated her vagina with his

penis and took her virginity. While Epstein raped her, Mary felt numb. She felt her mind

separate from her body. Mary protested, but Epstein forced her face onto the bed to stifle her

cries.

               93.      Afterwards, Epstein gave Mary $200. He led her out of the townhouse

assuring her, as he had many other times, that she was on the right path under his guidance.

Epstein told Mary that he loved her, and said “don’t f*** it up.”

               94.      Throughout 2005, Epstein continued to exercise tremendous control over

Mary’s life.

               95.      In the spring of 2005, when Mary was seventeen years old, Epstein

arranged for Mary to stay in an apartment of his on the Upper East Side of Manhattan, close to

his townhouse.

               96.      One day around Thanksgiving 2005, when Mary was seventeen years old,

Mary again went to Epstein’s townhouse for the final time. As he had so many times before,

Epstein sexually assaulted her, then gave her a few hundred dollars. After he did so, he shouted

out a disparaging and demeaning remark about her to Kellen, saying she had performed well.

Mary felt deep shame.



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               97.     As Mary walked out of the townhouse and onto to the street, she saw

another young girl walk by her and go into the townhouse.

               98.     At that moment, Mary’s world shattered. Epstein had made himself the

center of her young existence, masking himself as a parental substitute and mentor who had her

best interests in mind. She realized that Epstein was paying her for sexual acts, and that she was

just one of many young girls Epstein had in rotation for his use as sexual objects. She felt that

she was no longer a human being.

               99.     Mary effectively had a nervous breakdown. She was humiliated, angry,

and suicidal. She felt immense desolation. She found herself crying inconsolably, shaking, and

hyperventilating.

               100.    Mary found herself unable to go to casting events or meetings. She locked

herself away from everything.

               101.    Mary was desperate to escape the circumstances Epstein had her living in,

but she needed Epstein’s permission to leave New York. She asked Epstein to let her visit her

parents in the Midwest for her mother’s birthday. Epstein agreed to let Mary go, but only if she

returned immediately after. Epstein made sure to have his close associate purchase a round-trip

ticket for Mary. But, once Mary left New York, she never went back, even though she had

significant jobs lined up and was burning professional bridges and giving up her modeling career

by going to the Midwest.

               102.    Epstein and his agents continued to contact Mary, but she refused to go

back. Near the end of 2005, Epstein tracked down the home phone number for Mary’s parents

and called. Mary’s mother answered the phone, told Epstein that he should go out with women

his own age, and told her she was going to call the police. At the same time, Mary remained




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extremely frightened of all of Epstein’s power and threats, and would never have let her parents

call the police.

                   103.   In the subsequent months, Mary became chronically depressed. She had

severe anxiety. She had frequent suicidal ideations. She felt debilitating nausea and stomach

pain. She felt dead inside, unable to connect with anyone. She numbed herself and tried to bury

the pain and avoid dealing with what had happened.

                   104.   Mary abruptly stopped modeling, giving up the lucrative career in which

she was a rising star and for which she had given up so much. She stopped pursuing or attending

modeling appointments, ruining the momentum of her career and causing her irreparably to lose

connections with top agencies and clients in the industry (even when she finally returned to

modeling years later).

                   105.   The sexual abuse that Epstein inflicted on Mary left permanent

psychological scars. She remains plagued with self-doubt, insecurity, and despair. She often has

difficulty sleeping. She has struggled to build healthy relationships, as she finds it nearly

impossible to separate memories of Epstein’s manipulation and abuse from new relationships she

tries to develop.

                   106.   When Epstein was arrested in July 2019, Mary was briefly hopeful that he

might face justice, but the worldwide publicity that he subsequently received only deepened her

despair. Epstein’s death left Mary with the desolate sense that he has managed to evade justice

yet again. She desperately wants some measure of justice for herself and all of Epstein’s other

underage victims.

                   107.   This action is timely because it falls within New York CPLR 214-g and is

brought during the one-year time period set forth in that section. The claims brought herein

allege intentional and negligent acts and/or omissions for physical, psychological, and other



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injury suffered as a result of conduct that would constitute sexual offenses as defined in Article

130 of the New York Penal Law, and such acts and/or omissions were committed against Mary

when she was less than eighteen years of age.

                                    FIRST CAUSE OF ACTION
                                            (Battery)

                108.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully

set forth herein.

                109.   In committing the acts described above, Epstein intentionally subjected

Mary to bodily contact that was offensive in nature.

                110.   Kellen is liable for aiding and abetting Epstein’s actions.

                111.   Upon information and belief, Kellen knowingly provided substantial

assistance to Epstein in Epstein’s tortious actions against Mary.

                112.   Upon information and belief, Kellen was aware at the time that she was

playing a role in overall illegal and/or tortious activity by Epstein.

                113.   As a result of Epstein’s and Kellen’s actions, Mary suffered damages in an

amount to be determined at trial.

                                 SECOND CAUSE OF ACTION
                                         (Assault)

                114.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully

set forth herein.

                115.   In committing the acts described above, Epstein engaged in physical

conduct that placed Mary in imminent apprehension that he would harm her.

                116.   Kellen is liable for aiding and abetting Epstein’s actions.

                117.   Upon information and belief, Kellen knowingly provided substantial

assistance to Epstein in Epstein’s tortious actions against Mary.



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                118.   Upon information and belief, Kellen was aware at the time that she was

playing a role in overall illegal and/or tortious activity by Epstein.

                119.   As a result of Epstein’s and Kellen’s actions, Mary suffered damages in an

amount to be determined at trial.

                                  THIRD CAUSE OF ACTION
                          (Intentional Infliction of Emotional Distress)

                120.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully

set forth herein.

                121.   In committing the acts described above, Epstein and Kellen engaged in

extreme and outrageous conduct.

                122.   In doing so, Epstein and Kellen acted with the intent to cause, and/or

disregard of a substantial likelihood of causing Mary to suffer severe emotional distress.

                123.   As a direct result of Epstein and Kellen’s actions, Mary suffered severe

emotional distress.

                124.   Kellen is likewise liable for aiding and abetting Epstein’s actions.

                125.   Upon information and belief, Kellen knowingly provided substantial

assistance to Epstein in Epstein’s tortious actions against Mary.

                126.   Upon information and belief, Kellen was aware at the time that she was

playing a role in overall illegal and/or tortious activity by Epstein.

                127.   As a result of Epstein’s and Kellen’s actions, Mary suffered damages in an

amount to be determined at trial.




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       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants as follows:

          a. Awarding compensatory damages for all physical injuries, emotional distress,

              psychological harm, anxiety, humiliation, physical and emotional pain and

              suffering, family and social disruption, and other harm, in an amount to be

              determined at trial;

          b. Awarding punitive damages in an amount to be determined at trial;

          c. Awarding attorneys’ fees and costs pursuant to any applicable statute or law;

          d. Awarding pre- and post-judgment interest on all such damages, fees and/or costs;

          e. Attaching all of Defendants’ real property and other assets located in the State of

              New York pursuant to New York CPLR 6201 et seq. and Federal Rule of Civil

              Procedure 64; and

          f. Awarding such other and further relief as this Court may deem just and proper.


Dated: New York, New York
       November 20, 2019
                                                   CUTI HECKER WANG LLP


                                                   By:      /s/ Mariann Meier Wang
                                                         Mariann Meier Wang
                                                         Daniel Mullkoff

                                                   305 Broadway, Suite 607
                                                   New York, New York 10007
                                                   (212) 620-2603

                                                   ALLRED, MAROKO & GOLDBERG
                                                   Gloria Allred
                                                   305 Broadway, Suite 607
                                                   New York, New York 10007
                                                   (212) 202-2966

                                                   Attorneys for Plaintiff



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